  Fill in this information to identify the case and this filing:

  Debtor Name Remington Arms Company, LLC

  United States Bankruptcy Court for the Northern District of Alabama

  Case number (if known): 20-81692-11


  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                    12/15

 A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
 claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
 holders of the 40 largest unsecured claims.


Name of creditor and complete mailing   Name, telephone number, and email    Nature of the    Indicate if     Amount of unsecured claim
address, including zip code             address of creditor contact          claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                             example, trade   contingent,     claim amount. If claim is partially secured, fill in total
                                                                             debts, bank      unliquidated,   claim amount and deduction for value of collateral or
                                                                             loans,           or disputed     setoff to calculate unsecured claim.
                                                                             professional
                                                                             services, and
                                                                                                               Total claim, if        Deduction       Unsecured
                                                                                                              partially secured      for value of       claim
                                                                                                                                     collateral or
                                                                                                                                        setoff
     PENSION BENEFIT GUARANTY      PENSION BENEFIT GUARANTEE                    Pension        Contingent,                                             Undetermined
     CORPORATION                   CORPORATION                                  Liability      Unliquidated
 1   OFFICE OF THE GENERAL COUNSEL OFFICE OF THE GENERAL COUNSEL
     1200 K STREET, N.W.           PHONE; 202-326-4020 X4638
     WASHINGTON, DC 20005-4026     FAX: 202-326-4112
                                   EMAIL:
                                   NEUREITER.KIMBERLY@PBGC.COM

     STATE OF ARKANSAS                  JACK THOMAS, PROJECT MANAGER,         Development                                                              Undetermined
     PO BOX 3861                        BUSINESS DEVELOPMENT                   Agreement
 2   LITTLE ROCK, AR 72203-3861         ARKANSAS ECONOMIC
                                        DEVELOPMENT COMMISSION
                                        PHONE: 501-413-9984
                                        FAX: 501-682-7094
                                        EMAIL: JTHOMAS@ARKANSAS.GOV

     CITY OF HUNTSVILLE                 CITY OF HUNTSVILLE                    Development                                                              Undetermined
     112 SPRAGINS AVENUE,               PHONE: 866-478-8845                    Agreement
 3   HUNTSVILLE, AL 35801               FAX: 256-883-3682
                                        EMAIL:
                                        SHERRI.COONS@HSVUTIL.ORG
     STATE OF ALABAMA                   STATE OF ALABAMA                      Development                                                              Undetermined
     12 WATER STREET                    PHONE: 334-682-9914                    Agreement
 4   CAMDEN, AL 36726                   FAX: 334-242-4993

     STATE OF MISSOURI                  SARAH WARREN, INCENTIVE               Development                                                              Undetermined
     400 NORTH CAPITAL ST NW #376       SPECIALIST                             Agreement
 5   WASHINGTON DC 20001                MISSOURI DEPARTMENT OF
                                        ECONOMIC DEVELOPMENT
                                        PHONE: 573-526-6708
                                        FAX: 573-526-9810
                                        EMAIL:
                                        SARAH.WARREN@DED.MO.GOV

     ST MARKS POWDER                    ST MARKS POWDER                          Trade                                                                      $1,828,873
     PO BOX 603463                      ATTN: HEATHER SWAIN
 6   CHARLOTTE, NC 28260-3463           PHONE: 850-577-2057
                                        FAX: 850-577-2806
                                        EMAIL:
                                        HEATHER.SWAIN@GD-OTS.COM
     ECO-BAT INDIANA LLC                ECO-BAT INDIANA LLC                      Trade                                                                      $1,682,382
     PO BOX 846010                      PHONE: 214-583-0336
 7   DALLAS, TX 75284-6010              FAX: 214-831-4013
                                        ATTN: DANNY GUERRA, CORPORATE
                                        CREDIT MANAGER
                                        EMAIL: DGUERRA@RSRNA.COM


Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                               Page 1
            Case 20-81692-CRJ11                Doc 4      Filed 07/27/20 Entered 07/27/20 23:28:25                                     Desc Main
                                                         Document      Page 1 of 5
  Debtor       Remington Arms Company, LLC                                          Case number (if known) 20-81692-11
               Name


Name of creditor and complete mailing     Name, telephone number, and email   Nature of the    Indicate if     Amount of unsecured claim
address, including zip code               address of creditor contact         claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                              example, trade   contingent,     claim amount. If claim is partially secured, fill in total
                                                                              debts, bank      unliquidated,   claim amount and deduction for value of collateral or
                                                                              loans,           or disputed     setoff to calculate unsecured claim.
                                                                              professional
                                                                              services, and
                                                                                                                Total claim, if        Deduction       Unsecured
                                                                                                               partially secured      for value of       claim
                                                                                                                                      collateral or
                                                                                                                                         setoff
      DASAN USA INC.                      DASAN USA INC.                          Trade                                                                        $987,818
      2400 MAIN STREET NW                 TIM SHIN
  8   DULUTH, GA 30097                    PHONE: 775-657-7053
                                          FAX: 770-623-6723
                                          EMAIL: TIM.SHIN@DASAN-USA.COM

      SWANSON MARTIN & BELL               SWANSON MARTIN & BELL                Professional                                                                    $972,362
      ATTN: ANDREW LOTHSON                ATTN: ANDREW LOTHSON                   Services
  9   330 NORTH WABASH AVE SUITE          EMAIL: ALOTHSON@SMBTRIALS.COM
      3300                                FAX: 312-321-0990
      CHICAGO, IL 60611                   PHONE: 412-321-9100

      ART GUILD INC.                      ART GUILD INC.                        Marketing                                                                      $950,624
      300 WOLF DRIVE                      ATTN: BERNADETTE SANDONE, A/R         Services
 10 WEST DEPTFORD, NJ 08086               MANAGER
                                          PHONE: 856-853-7500
                                          FAX: 856-686-4184
                                          EMAIL: BSANDONE@ARTGUILD.COM

    ALLIANT TECHSYSTEMS                   ALLIANT TECHSYSTEMS                     Trade                                                                        $866,737
    OPERATIONS LLC                        OPERATIONS LLC
 11 PO BOX 734341                         PHONE: 800-276-9337
    CHICAGO, IL 60673-4341                FAX: 540-639-8496
                                          EMAIL: GARY.DUGAN@NGC.COM

      MSC INDUSTRIAL SUPPLY CO            MSC INDUSTRIAL SUPPLY CO                Trade                                                                        $837,152
      PO BOX 953635                       JANET LEGETTE
 12 SAINT LOUIS, MO 63195-3635            PHONE: 704-987-5679 X125679
                                          EMAIL: LEGETTEJ@MSCDIRECT.COM
                                          FAX: 516-812-2530

    QIQIHAR HAWK INDUSTRIES CO LTD QIQIHAR HAWK INDUSTRIES CO LTD                 Trade                                                                        $678,072
    15 NAN YUAN ROAD               PHONE: 86-186-0512-7427
 13 QIQIHAR HEILONGIANG PROVINCE, FAX: 86-452-234-0633
    CHINA 161005                   EMAIL: XYJTO452@ALIYUN.COM

      THE DOE RUN COMPANY                 THE DOE RUN COMPANY                     Trade                                                                        $626,539
      ATTN: DEB MEDLEY                    ATTN: DEB MEDLEY
 14 75 REMITTANCE DRIVE, SUITE 2172       PHONE: 314-453-7115
      CHICAGO, IL 60675-2172              FAX: 314-453-7189
                                          EMAIL: CEO@DOERUN.COM

      HELIO PRECISION INC.                HELIO PRECISION INC.                                                                                                 $473,677
      601 NORTH SKOKIE HIGHWAY            PHONE: 864-879-8100
 15 LAKE BLUFF, IL 60044                  FAX: 847-473-1306
                                          EMAIL:AR.ROCHESTER@HNPRECISIO
                                          N.COM

    SAP AMERICA INC.                      SAP AMERICA INC.                        Trade                                                                        $472,524
    PO BOX 7780-824024                    ATTN: MICHAEL JON DEL ROSARIO
 16 PHILADELPHIA, PA 19182-4024           PHONE: 1-866-857-2621 X2
                                          FAX: 336-548-8761
                                          EMAIL:
                                          MICHAEL.JON.DEL.ROSARIO@SAP.C
                                          OM

      DIE-NAMIC INC.                      DIE-NAMIC                               Trade                                                                        $449,985
      PO BOX 30516                        ATTN: ROBERT BOLOGNA
 17 LANSING, MI 48909-8016                PHONE: 734-710-3217
                                          FAX: 734-710-3223
                                          EMAIL: ROBERTBOLOGNA@DIE-
                                          NAMIC.COM

    A M CASTLE & CO / CASTLE METALS A M CASTLE & CO / CASTLE METALS               Trade                                                                        $448,323
    11125 METROMONT PARKWAY         PHONE: 847-349-3851
 18 CHARLOTTE, NC 28269             FAX: 716-748-7788
                                    EMAIL: JKANUTE@AMCASTLE.COM




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                              Page 2
            Case 20-81692-CRJ11                  Doc 4      Filed 07/27/20 Entered 07/27/20 23:28:25                                    Desc Main
                                                           Document      Page 2 of 5
  Debtor      Remington Arms Company, LLC                                         Case number (if known) 20-81692-11
              Name


Name of creditor and complete mailing   Name, telephone number, and email   Nature of the    Indicate if     Amount of unsecured claim
address, including zip code             address of creditor contact         claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                            example, trade   contingent,     claim amount. If claim is partially secured, fill in total
                                                                            debts, bank      unliquidated,   claim amount and deduction for value of collateral or
                                                                            loans,           or disputed     setoff to calculate unsecured claim.
                                                                            professional
                                                                            services, and
                                                                                                              Total claim, if        Deduction       Unsecured
                                                                                                             partially secured      for value of       claim
                                                                                                                                    collateral or
                                                                                                                                       setoff
    KENNAMETAL INC.                     KENNAMETAL INC.                         Trade                                                                        $438,111
    307 23RD STREET EXT SUITE 950       PHONE: 630-963-9194
 19 PITTSBURGH, PA 15215                FAX: 800-294-9871
                                        EMAIL: K-
                                        NA.CREDIT@KENNAMETAL.COM /
                                        DIANE.LISOVICH@KENNAMETAL.COM

    DECIMET SALES INC.                  DECIMET SALES INC.                      Trade                                                                        $378,332
    ATTN: BUTCH ANDERSON                ATTN: BUTCH ANDERSON
 20 14200 JAMES ROAD                    PHONE: 763-428-4321
    ROGERS, MN 55374                    FAX: 763-428-8285
                                        EMAIL: INFO@DSIMN.COM

    ALLTRISTA PLASTICS LLC              ALLTRISTA PLASTICS LLC                  Trade                                                                        $369,192
    LOCKBOX #745397                     PHONE: 864-879-8100
 21 PO BOX 745397                       FAX: 417-873-2100
    ATLANTA, GA 30384-5397              EMAIL:
                                        DHIGGINS@JARDENPLASTICS.COM

    BROTHERS & CO                       BROTHERS & CO                         Marketing                                                                      $344,444
    4860 SOUTH LEWIS                    PHONE: 918-743-8822                   Services
 22 TULSA, OK 74105-5175                FAX: 918-742-9628
                                        EMAIL:
                                        LINDA.MILLIGAN@BONNIERCORP.CO
                                        M
    CONTINENTAL TRAFFIC SERVICE         CONTINENTAL TRAFFIC SERVICE INC.        Trade                                                                        $332,589
    INC.                                ALLISON DOUGLAS
 23 5100 POPLAR AVENUE - 15TH           PHONE: 888-836-5135 X7481
    FLOOR                               FAX: 901-766-1522
    MEMPHIS, TN 38137                   EMAIL: ALLISOND@CTSI-
                                        GLOBAL.COM
    CHESSGROUP                          CHESSGROUP                              Trade                                                                        $317,135
    7010 FLY ROAD                       PHONE: 315-200-1037
 24 EAST SYRACUSE, NY 13057             FAX: 315-432-0899
                                        EMAIL: ADMIN@CHESSGROUP.COM

    AMARK ENGINEERING & MFG INC.        AMARK ENGINEERING & MFG INC.            Trade                                                                        $308,768
    203 MAIN ST SW                      PHONE: 479-787-5206
 25 GRAVETTE, AR 72736                  FAX: 479-787-6503
                                        EMAIL: LAWANNA@AMARKENG.COM

    VISTA OUTDOOR SALES LLC             VISTA OUTDOOR SALES LLC                 Trade                                                                        $281,016
    PO BOX 734147                       PHONE: 763-433-1000
 26 CHICAGO, IL 60673-4147              FAX: 913-752-3571
                                        EMAIL:
                                        TRACY.REDDEMANN@VISTAOUTDOO
                                        R.COM

    PRODUCTO CORPORATION                PRODUCTO CORPORATION                    Trade                                                                        $256,961
    2980 TURNER RD                      PHONE: 800-828-2216
 27 JAMESTOWN, NY 14701                 FAX: 716-484-2235
                                        EMAIL:
                                        JANDERSON@RINGPRECISION.COM

    DAYTON LAMINA CORP                  DAYTON LAMINA CORP                      Trade                                                                        $245,432
    PO BOX 77000                        PHONE: 937-859-5111
 28 DETROIT, MI 48277-1830              FAX: 937-859-5353
                                        EMAIL:
                                        JDE@DAYTONPROGRESS.COM

    SAFARI CLASSICS PRODUCTION      SAFARI CLASSICS PRODUCTION                  Trade                                                                        $243,750
    5206 MCKINNEY AVENUE, SUITE 101 PHONE: 214-360-9599
 29 DALLAS, TX 75205                FAX: 214-361-8789
                                    EMAIL: TDANKLEF@AOL.COM




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                              Page 3
            Case 20-81692-CRJ11                Doc 4      Filed 07/27/20 Entered 07/27/20 23:28:25                                    Desc Main
                                                         Document      Page 3 of 5
  Debtor      Remington Arms Company, LLC                                         Case number (if known)            20-81692-11
              Name


Name of creditor and complete mailing   Name, telephone number, and email   Nature of the    Indicate if     Amount of unsecured claim
address, including zip code             address of creditor contact         claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                            example, trade   contingent,     claim amount. If claim is partially secured, fill in total
                                                                            debts, bank      unliquidated,   claim amount and deduction for value of collateral or
                                                                            loans,           or disputed     setoff to calculate unsecured claim.
                                                                            professional
                                                                            services, and
                                                                                                              Total claim, if        Deduction       Unsecured
                                                                                                             partially secured      for value of       claim
                                                                                                                                    collateral or
                                                                                                                                       setoff
    GENERAL DYNAMICS                    GENERAL DYNAMICS                        Trade                                                                        $240,349
    55 MASSON STREET, CP 5520           ATTN: SUZIE TAILLEFER
 30 VALLEYFIELD, OC J6S 4VP             PHONE: 450-377-7835
    CANADA                              FAX: 450-377-7800
                                        EMAIL: SUZIE.TAILLEFER@CAN.GD-
                                        OTS.COM

    NATIONAL RIFLE ASSOCIATION          NATIONAL RIFLE ASSOCIATION            Marketing                                                                      $232,528
    11250 WAPLES MILL RD                PHONE: 703-267-1659                   Services
 31 FAIRFAX, VA 22030                   FAX: 703-267-3800
                                        EMAIL:
                                        ACCOUNTSRECEIVABLE@NRAHQ.OR
                                        G
    G & R MANUFACTURING                 G & R MANUFACTURING                     Trade                                                                        $214,159
    190 SHERIDAN DRIVE                  PHONE: 203-729-2224
 32 NAUGATUCK, CT 6770                  FAX: 203-729-3113
                                        EMAIL:
                                        LINDSAY@GRMANUFACTURING.COM

    DAY PITNEY LLP                      DAY PITNEY LLP                          Legal                                                                        $209,695
    1 JEFFERSON ROAD                    PHONE: 860-275-0100
 33 PARSIPPANY, NJ 07054-2833
    NORDIC COMPONENTS INC.              NORDIC COMPONENTS INC.                  Trade                                                                        $193,774
    79 E 8TH STREET                     PHONE: 952-442-8901
 34 WACONIA, MN 55387                   FAX: 952-442-8999
                                        EMAIL: NORTICCOMP@GMAIL.COM /
                                        JARMO@NORDICCOM.COM

    GEODIS LOGISTICS LLC          GEODIS LOGISTICS LLC                          Trade                                                                        $190,616
    15604 COLLECTION CENTER DRIVE ATTN: VIVIAN HARRIS, A/R MANAGER
 35 CHICAGO, IL 60693             PHONE: 615-880-4865
                                  FAX: 615-377-3977
                                  EMAIL: VHARRIS@OHL.COM

    BUSHNELL INC.                       BUSHNELL INC.                           Trade                                                                        $189,760
    PO BOX 734154                       PHONE: 913-752-3400
 36 CHICAGO, IL 60673-4154              FAX: 913-752-3571
                                        EMAIL:
                                        TRACY.REDDEMANN@VISTAOURDOO
                                        R.COM

    OBERG INDUSTRIES                    OBERG INDUSTRIES                        Trade                                                                        $189,423
    2301 SILVERVILLE ROAD               PHONE: 724-235-6101
 37 FREEPORT, PA 16229-0315             FAX: 724-353-9755
                                        EMAIL:
                                        ACCOUNTS.RECEIVABLE@OBERG.CO
                                        M

    VILLAGE OF ILION TREASURER          VILLAGE OF ILION TREASURER               Tax                                                                         $174,634
    PO BOX 4231                         PHONE: 315-895-7449
 38 UTICA, NY 13504-4231                FAX: 315-894-6050
                                        EMAIL: ILION@ILIONNY.COM

    OHIO BROACH & MACHINE CO            OHIO BROACH & MACHINE CO                Trade                                                                        $154,479
    35264 TOPPS IND PKWY                PHONE: 440-946-1040
 39 WILLOUGHBY, OH 44094                EMAIL: JLUTZ@OHIOBROACH.COM

    WESTROCK CONVERTING                 WESTROCK CONVERTING                     Trade                                                                        $150,974
    PO BOX 409813                       ATTN: ROY MAYE, CREDIT MANAGER
 40 ATLANTA, GA 30384-9813              PHONE: 678-291-7378
                                        FAX: 256-734-1477
                                        EMAIL: ROY.MAYE@WESTROCK.COM




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            Case 20-81692-CRJ11                Doc 4      Filed 07/27/20 Entered 07/27/20 23:28:25                                    Desc Main
                                                         Document      Page 4 of 5
Fill in this information to identify the case and this filing:

Debtor Name Remington Arms Company, LLC

United States Bankruptcy Court for the Northern District of Alabama

Case number (if known): ________
                        20-81692-11 _


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                           12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual's position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


              Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
        agent of the partnership, or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the
        information is true and correct:

        □          Schedule A/8: Assets-Real and Personal Property {Official Form 206A/B)

        □          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

        □          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        □          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        □          Schedule H: Codebtors (Official Form 206H)

        D          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        □          Amended Schedule

        C8l        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and
                   Are Not Insiders (Official Form 204)

        D          Other document that requires a declaration ________________


        I declare under penalty of perjury that the foregoing is true and correct to th

        Executed on          07/27/2020                          X
                           MM/OO/YYYY

                                                                          Ken D'Arcy
                                                                          Printed name
                                                                          Chief Executive Officer
                                                                          Position or relationship to debtor




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                                                      Document      Page 5 of 5
